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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO



 JESUS MORENO,

                 Plaintiff,
 vs.



 DEVON ENERGY CORPORATION, and
 DEVON ENERGY PRODUCTION
 COMPANY L.P.,

                 Defendants.




                                     NOTICE OF REMOVAL


       COMES NOW Defendants, Devon Energy Corporation ("DEC") and Devon Energy

Production Company L.P. ("DEPCO"), by and through their attorneys of record, Hinkle Shanor

LLP (AndrewJ. Cloutierand Parker B. Folse),and pursuantto 28 U.S.C. §§ 1441 and 1446hereby

file this Notice ofRemoval, signed pursuant to Rule 11 of the Federal Rules of Civil Procedure,

and state as follows:


I.     STATEMENT OF RELEVANT FACTS



        1.      On March 29,2022, Plaintiff Jesus Moreno filed suit in New Mexico State District

Court in Santa Fe County, New Mexico alleging Defendants were negligent in causing personal

injuries he suffered in 2017. See Ex. i, Complaint.

       2.       Defendant DEPCO was served via its registered agent on April 20, 2022.^

       3.       Plaintiff is a resident, and upon information and belief is also a citizen, of the State

of Texas. See      j_. Complaint, ^ 1;     2, Declaration ofEdward Highberger, H13.



'This Notice is timely filed. See 28 U.S.C. § 1446(b).
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       4.     Plaintiff alleges that Devon Energy Corporation ("DEC") is a foreign limited

liability company headquartered in Oklahoma City, Oklahoma.       i, ^ 2.

       5.     However, as the name indicates, Devon Energy Corporation is a foreign

corporation, not a limited liability company, incorporated under the laws of Delaware with its

principal place of business in Oklahoma. See    2,3.

       6.     DEC is a citizen of Delaware and Oklahoma. See Ex. 2, 11113-4.

       7.     DEC does not transact business in New Mexico. See       2, ^ 4;    3, New Mexico

Secretary ofState Corporation Database.

       8.     Plaintiff also alleges that Devon Energy Production Company, L.P. is a foreign

limited liability company that is headquartered in Oklahoma City, Oklahoma, j^. i, H3.

       9.     However, as the name indicates, Devon Energy Production Company L.P.

("DEPCO") is a limited partnership with a general partner of DVN Operating Company L.L.C., a

Delaware limited liability company, and a sole limited partner of Devon OEI Operating, L.L.C., a

Delaware limited liability company. See Ex. 2, ^ 6; Ex. 4. New Mexico Secretary of State

Corporation Database.

       10.    DVN Operating Company, L.L.C.'s sole member is Devon OEI Operating, LLC, a

Delaware limited liability company.     2, ^ 7; Ex. 5, New Mexico Secretary ofState Corporation

Database?

       11.    Devon OEI Operating L.L.C.'s sole member is Devon OEI Holdings, LLC, a

Delaware limited lability company.     2, %8.




^ For some reason, the New Mexico's Secretary of State's website incorrectly denominates DVN
Operating Company L.L.C. as a corporation and not a limited liability company. This does not
have any material effect on determining DEPCO's citizenship.
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        12.    Devon OEI Holdings, L.L.C.'s sole member is Devon Energy Corporation

(Oklahoma), which is an Oklahoma corporation with its principal place of business in Oklahoma

City, Oklahoma. Ex. 2,     9-10.

        13.    DEPCO is a citizen of both Delaware and Oklahoma.


        14.    As a result, the citizenship of DEC and DEPCO is Delaware and Oklahoma.

        15.    Defendants are not incorporated under the laws of New Mexico and are not citizens

of the State of New Mexico. See Ex. 2, ^ 11.

        16.    Plaintiff alleges that he fell off a drilling rig in 2017 in Lea County, New Mexico

that caused "serious injuries to his head, back, left ankle and right shoulder" resulting in "severe

pain, physical impairment, discomfort, disfigurement, mental anguish and distress" in addition to

"loss of earning in the past, as well as a loss of future earning capacity." Ex. i. Complaint,   11

& 15.


        17.    Plaintiffpreviously sued Defendants in Texas state court for the same claims arising

from the same 2017 incident and sought monetary relief in an amount that exceeded $1 million

dollars in damages.^ See Ex. 2, ^ 15.

        18.    Therefore, the amount in controversy in this dispute exceeds $75,000.00 in

damages, exclusive of interest and costs.

        19.    There is complete diversity of citizenship between the parties.

        20.    This Court has original diversity jurisdiction pursuant to 28 U.S.C. § 1332.




^ Plaintiffs claims against Defendants were dismissed on February 24, 2022, when the Texas
Court ofAppeals for the First District ofTexas reversed the trial court order and rendered judgment
after concluding that State of Texas did not have jurisdiction.


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II.      LEGAL ANALYSIS


      This Court has original jurisdiction over the subject matter pursuant to 28 U.S.C. § 1332(a)(1)

(2011). The amount in controversy exceeds $75,000.00, exclusive of interest and costs, and the

suit is between citizens of different states."^


      A. There is Complete Diversity of Citizenship

             Plaintiffis a citizen ofTexas


         Plaintiffs Complaint alleges that he is a resident of the State of Texas. See Ex. i,     1. In

responding to discovery in the prior dismissed lawsuit. Plaintiff admitted, by Requests for

Admission, that his permanent residence was Lubbock, Texas, that he possessed a valid Texas

identification card issued on May 16, 2016, and that he was a "citizen" of the State of Texas. See

Ex. 2, H 13. Therefore, upon information and belief. Plaintiff is a citizen of the State of Texas for

purposes of 28 U.S.C. § 1332 diversity jurisdiction.

         Defendants are citizens ofOklahoma and Delaware

                 Citizenship of Corporations

         Section 1332 provides that a corporation is a citizen where they are incorporated and where

it has its principal place of business. 28 U.S.C § 1332(c)(1). A corporation's "principal place of

businesses" is where the corporation "maintains its headquarters" or where the "corporation's

officers direct, control, and coordinate the corporation's activities," i.e., its "nerve center." Hertz

Corp. V. Fried, 5 U.S. 77, 92-93 (2010) (adopting the "nerve center" test); Grynberg v. Kinder

Morgan Energy Partners, LP., 805 F.3d 901, 905 (10**^ Cir. 2015) ("For diversity, a corporation

is a citizen of its state of incorporation and the state where its principal place of business is




^No Defendant is a citizen of the State of New Mexico. See 28 U.S.C. § 1441(b)(2).
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located.")- Devon Energy Corporation is incorporated in Delaware, and it has its "principal place

of business" in Oklahoma. See        2,3-5. As a result, DEC is a citizen of both Delaware and

Oklahoma for purposes of 28 U.S.C. § 1332 diversity jurisdiction.

               Citizenship of Limited Partnerships and Limited Liability Companies

       Unincorporated business associations are citizens for purposes of federal diversity

jurisdiction where each of their members are citizens. Diversity jurisdiction in a suit by or against

the unincorporated entity depends on the citizenship of"all the members." See Chapman v, Barney,

129 U.S. 677 (1889), Grynherg v. Kinder Morgan Energy Partners, L.P., 805 F.3d 901, 905-06

(lO'*' Cir. 2015) ("the Supreme Court has held an unincorporated entity's citizenship is typically

determined by its members' citizenship (the 'Chapman rule')."); Carden v. Arkoma Associates,

494 U.S. 185, 195-96 (1990). And, although determinative for corporations, unincorporated

business associations are not citizens where they may have their "principal place of business." See

Siloam Springs Hotel, LLC. v. Century Sur. Co., 781 F.3d 1233,1238 (10^*^ Cir. 2015) ("this court

must reject Century Surety's request to determine the citizenship of Siloam Springs by reference

to its state of organization and the state of its primary business operations and, instead, joins all

other circuits that have considered the matter in concluding Siloam Springs takes the citizenship of

all its members."). "[T]he citizenship of partnerships and other unincorporated associations is

determined by the citizenship of its partners or members. Accordingly, the citizenship of an LLC

is determined by the citizenship of its members. And as with partnerships, where an LLC has, as

one of its members, another LLC, the citizenship of unincorporated associations must be traced

through however many layers of partners or members there may be to determine the citizenship of

the LLC."Zambelli Fireworks Mfg. Co., Inc. v. Wood, 592 F.3d 412, 420 (3'"'' Cir. 2010) (internal

quotations and citations omitted).



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       DEPCO, as a limited partnership, is citizen where all its members are citizens. DEPCO's

partners, or members, are DVN Operating Company, L.L.C. and Devon OEI Operating, L.L.C..

See Ex. 2. DVN Operating Company L.L.C.'s sole member is Devon OEI Operating, L.L.C. Devon

OEI Operating L.L.C. is a Delaware limited liability company with a sole member of DVN OEI

Holdings L.L.C., a Delaware limited liability company. See Ex. 2. Devon OEI Holdings, L.L.C. is

a Delaware limited liability company with a sole member of Devon Energy Corporation

(Oklahoma). Ex. 2. Devon Energy Corporation (Oklahoma) is an Oklahoma corporation with its

principal place of business in Oklahoma City, Oklahoma. See Ex. 2, ^ 10. As a result, tracing

through all the members of DEPCO's partners and the relevant members of those limited liability

companies and corporate members, DEPCO is a citizen of both Delaware and Oklahoma for

purposes of 28 U.S.C. § 1332 diversity jurisdiction. With Plaintiff being a citizen of Texas and

Defendants being citizens of Delaware and Oklahoma, there is complete diversity.


   B. The Amount in Controversy Exceeds the Jurisdictional Limit


   Pursuant to Section 1332 for there to be diversity jurisdiction the matter in controversy must

also exceed $75,000.00, exclusive of interest and costs. 28 U.S.C. § 1332(a). Although Plaintiffs

Complaint does not specify any particular amount of damages—as it is prohibited under New

Mexico state court pleading practice, see NMRA Rule 1-008(A)(3) ("...the complaint shall not

contain an allegation for damages in any specific monetary amount...")^—^the factual allegations

in the Complaint, incorporated and referenced in this Notice ofRemoval, establish, upon plausible



^ Where state practice does not permit a demand for a specific sum, the Notice of Removal may
assert that the amount in controversy exceeds the jurisdictional limit. See 28 U.S.C. §
1446(c)(2)(A)(i)-(ii); Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014)
("In sum, as specified in § 1446(a), a defendant's notice of removal need include only a plausible
allegation that the amount in controversy exceeds the jurisdictional threshold.").


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information and belief, that the amount in controversy for this matter exceeds the jurisdictional

minimum of $75,000.00, exclusive of interests and costs. See Ex. i. Plaintiff seeks monetary

damages for "serious injuries to his head, back, left ankle and right shoulder" resulting in "severe

pain, physical impairment, discomfort, disfigurement, mental anguish and distress" in addition to

"loss of earning in the past, as well as a loss of future earning capacity." Additionally, in the

dismissed near identical Texas proceeding arising out of the same 2017 incident. Plaintiff sought

monetary relief"over $1,000,000.00." Ex. 2,15. The nature of Plaintiff s factual allegations and

his explicit prior requested monetary relief establish the amount in controversy exceeds

$75,000.00, exclusive of interestand costs.^See Ex.'s 1 & 2.

III.   CONCLUSION


       Defendants hereby remove this case to the United States District Court for the District of

New Mexico and request thatthis Court retain jurisdiction for all further proceedings.


                                                     Respectfully Submitted,

                                                     Hinkle Shanor LLP

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^Prior demands are sufficient to establish the amount in controversy. See McPhail v. Deere &Co.,
529 F.3d 947, 956 (lO^'^ Cir. 2008) ("a plaintiffs proposed settlement amount is relevant evidence
ofthe amount incontroversy if itappears toreflect a reasonable estimate ofthe plaintiffs claim.").
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                               CERTIFICATE OF SERVICE


       Pursuant to D.N.M.LR-Civ. 5.1,1 hereby certify that the foregoing Notice ofRemoval was

served on the following on May 05, 2022, by the method reflected:


 Persons Served                                 Method

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